                              United States Court of Appeals
                                    For The Eighth Circuit
                                     Thomas F. Eagleton U.S. Courthouse
                                     111 South 10th Street, Room 24.329
                                   St. Louis, Missouri 63102
                                                                                   VOICE (314) 244-2400
Michael E. Gans
                                                                                     FAX (314) 244-2780
 Clerk of Court
                                                                                   www.ca8.uscourts.gov

                                                           August 28, 2020


Mr. Daniel J. Rhoads
THE RHOADS FIRM
3703 Watson Road
Saint Louis, MO 63109

       RE: 19-2502 L.B. v. Jefferson City School District, et al

Dear Mr. Rhoads:

       Upon further review, the party John Doe was determined not to be a party to this matter.
The caption has been updated accordingly.

       Should you require additional information, please do not hesitate to contact our office.


                                                                      Michael E. Gans
                                                                      Clerk of Court

       AEV

       Enclosure(s)

       cc:    Mr. Ryan Eugene Bertels
              Ms. Kaci R Peterson
              Mr. Christopher Perry Rackers
              Ms. Paige A. Wymore-Wynn


                   District Court/Agency Case Number(s): 2:18-cv-04060-BCW




       Case 2:18-cv-04060-BCW Document 87 Filed 08/28/20 Page 1 of 2
   Appellate Case: 19-2502 Page: 1 Date Filed: 08/28/2020 Entry ID: 4950672
Caption For Case Number: 19-2502

August 28, 2020

       District Court/Agency Case Number(s): 2:18-cv-04060-BCW


L.B., by and through next friend, Michael Buschman

            Plaintiff - Appellant

v.

Jefferson City School District, properly named Jefferson City Public Schools, formerly
known as Jefferson City Public School District; Robert James

            Defendants - Appellees

John Doe

            Defendant




         Case 2:18-cv-04060-BCW Document 87 Filed 08/28/20 Page 2 of 2
     Appellate Case: 19-2502 Page: 1 Date Filed: 08/28/2020 Entry ID: 4950672
